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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

UNITED STATES OF AMERICA                         $
                                                 $
VS.                                              $ CASENO.3:lI-CR-177-P(05)
                                                 $
THERESA FEY BARSEMA                              $



               ORDER ACCEPTING REPORT AND RECOMMENDATION
                  OF THE UNITED STATES MAGISTRATE JUDGE
                        CONCERNING PLEA OF GUILTY

       After reviewing all relevant matters of record, including the Notice Regarding Entry of a

Plea of Guilty, the Consent of the defendant, and the Report and Recommendation Concerning

Plea of Guilty of the United States Magistrate Judge, and no objections thereto having been filed

within ten days of service in accordance with 28 U.S.C. $ 636(bXl), the undersigned District

Judge is of the opinion that the Report and Recommendation of the Magistrate Judge concerning

the Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the Court

accepts the plea of guilty and Defendant is hereby adjudged guilty. Sentence will be imposed in

accordance with the Court's scheduline order.

       SO ORDERED.

       SIGNED this I lth day of Januarv 2012.




                                                       UNITED STATES DISTRICT JUDGE
